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                    IN THE UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF ARKANSAS
                             FORT SMITH DIVISION

 UNITED STATES                                             PLAINTIFF/RESPONDENT

       v.                        No. 2:09-CR-20026
                                 No. 2:10-CV-02166

 SALVADOR ZARATES                                          DEFENDANT/PETITIONER


                                      ORDER

       Now on this 30th day of June 2011, there comes on for

 consideration the report and recommendation filed herein on May 25,

 2011,   by   the    Honorable    James   R.   Marschewski,        United   States

 Magistrate Judge for the Western District of Arkansas. (Doc. 172).

 Also before the Court are Mr. Zarates’ written objections to the

 report and recommendation (Doc. 174).

       The Court has reviewed this case de novo and, being well and

 sufficiently       advised,     finds    as   follows:      the     report    and

 recommendation is proper and should be and hereby is adopted in its

 entirety.    Accordingly, the 28 U.S.C. § 2255 motion (Doc. 163) is

 DENIED and DISMISSED WITH PREJUDICE.

       IT IS SO ORDERED.



                                      /s/ Robert T. Dawson
                                      Honorable Robert T. Dawson
                                      United States District Judge
